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14

15
                                      UNITED STATES DISTRICT COURT
16
                                   NORTHERN DISTRICT OF CALIFORNIA
17
                                           SAN FRANCISCO DIVISION
18
     In re: CATHODE RAY TUBE (CRT) ANTITRUST                    Case No. 07-cv-05944 (SC)
19   LITIGATION
                                                                MDL No. 1917
20   This Document Relates To:                                  [PROPOSED] ORDER GRANTING
21                                                              SHARP’S ADMINISTRATIVE
     Sharp Electronics Corp., et al. v. Hitachi Ltd., et al.,   MOTION TO FILE DOCUMENTS
     Case No. C 13-1173 (SC)                                    UNDER SEAL PURSUANT TO
22
                                                                CIVIL LOCAL RULES 7-11 AND
23                                                              79-5(b)

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     [PROPOSED] ORDER GRANTING SHARP’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL PURSUANT TO
                                  CIVIL LOCAL RULES 7-11 AND 79-5(b)
                          Case Nos. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
             Case 3:07-cv-05944-JST Document 2259 Filed 12/11/13 Page 2 of 2



 1                 Upon consideration of Sharp’s Administrative Motion to File a Document Under Seal

 2   Pursuant to Civil Local Rules 7-11 and 79-5(b), submitted in connection with Sharp’s Opposition to

 3   Toshiba Defendants’ Motion to Dismiss Sharp’s Complaint, it is hereby:

 4                 ORDERED that the Administrative Motion is hereby GRANTED; and it is further

 5                 ORDERED that the Clerk shall file and maintain under seal:

 6                                  Document to Be Filed Under Seal
 7
                    Exhibit A attached to the Declaration of Vince Sampietro in
 8                  Support of Sharp’s Opposition to Toshiba Defendants’ Motion to
                    Dismiss Sharp’s Complaint
 9

10                  Exhibit A to the Declaration of Craig A. Benson in Support of
                    Sharp’s Opposition to Toshiba Defendants’ Motion to Dismiss
11                  Sharp’s Complaint
12

13   IT IS SO ORDERED.
14

15

16            DATED: December 11 , 2013                  _________________________________
17                                                             HON. SAMUEL CONTI
                                                          UNITED STATES DISTRICT JUDGE
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                                                  -2-
     [PROPOSED] ORDER GRANTING SHARP’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL PURSUANT TO
                                  CIVIL LOCAL RULES 7-11 AND 79-5(b)
                          Case Nos. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
